Case 2:05-CV-02308-SHI\/|-STA Document 5 Filed 06/13/05 Page 1 of 2 Page|D 12

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IN THE UNITED sTATEs DIsTRICT coURT mgo§l"é£§%“_qhn
FOR THE wEsTERN DISTRICT oF TENNESSEE 0
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'CFSLEF%K.FU.S. DlST. CT.
DIANE woons, individually, and in 'A 0 GFTN_MEMNMS
her representative capacity as
mother and administratrix of the

estate of ANTONIO MILLER, deceased,
Plaintiff,
No. 05-2308 Ma/An

V.

SHELBY COUNT¥, TENNESSEE, et al.,

v\_¢\_»¢v\_r\..¢v~_d\_d\..z`_»¢v

Defendants.

 

ORDER DISMISSING DEFENDANT MARK LUTTRELL

 

Before the court is defendant Mark Luttrell's April 29, 2005,
“Motion to Dismiss or, in the Alternative, for Summary Judgment."
Plaintiff Diane Woods filed a response on June lO, 2005. In her
response, Woods states that she “has no opposition to this Court
finding that Defendant Mark Luttrell, Jr., as a matter of law, is
not a proper party to this lawsuit....” (Def.’s Resp. at 2.) For
good cause shown, Luttrell’s motion to dismiss is GRANTED.

Defendant Mark Luttrell is DISMISSED as a defendant in this case.

So ordered this lqn` day of June 2005.
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02308 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

ESSEE

 

M. Dell Stiner

THE WHARTON FIRM
147 Jefferson Avenue
Ste. 1205

1\/1emphis7 TN 38103

Jeffrey S. Rosenblum
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 560

1\/1emphis7 TN 38103

Marc E. Reisman
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 950

1\/1emphis7 TN 38103

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

